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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    WILDEARTH GUARDIANS; and
    PHYSICIANS FOR SOCIAL
    RESPONSIBILITY,

                        Plaintiffs,

    v.

    DEBRA HAALAND, Secretary, U.S.                No. 1:21-cv-00175-RC
    Department of the Interior; and U.S.
    BUREAU OF LAND MANAGEMENT,

                        Defendants,

    AMERICAN PETROLEUM INSTITUTE;
    STATE OF WYOMING, NAH UTAH LLC,
    and ANSCHUTZ EXPLORATION
    CORPORATION,

                        Intervenor-Defendants.



    INTERVENOR-DEFENDANT AMERICAN PETROLEUM INSTITUTE’S RESPONSE
            TO DEFENDANTS’ MOTION FOR VOLUNTARY REMAND

         Pending before the Court are three lawsuits brought by plaintiffs WildEarth Guardians et

al., which collectively challenge as purportedly violating the National Environmental Policy Act

(“NEPA”), 42 U.S.C. §§ 4321, et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C.

§ 551, decisions by the U.S. Secretary of the Interior and the Bureau of Land Management to

conduct more than three dozen oil and gas lease sales pursuant to the Mineral Leasing Act

(“MLA”), 30 U.S.C. § 181.1 Intervening defendant American Petroleum Institute (“API”) has




1
  WildEarth Guardians v. Haaland, No. 1:16-cv-01724 (the “2016 WildEarth Guardians
lawsuit”); WildEarth Guardians v. Haaland, No. 1:20-cv-056 (the “2020 WildEarth Guardians

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filed motions in all three lawsuits seeking the dismissal of the vast majority of these lease sale

challenges.

          In all three lawsuits, API asserts that these claims are barred by the MLA statute of

limitations, which provides that “[n]o action contesting a decision of the Secretary involving any

oil and gas lease shall be maintained unless such action is commenced or taken within ninety days

after the final decision of the Secretary relating to such matter.” 30 U.S.C. § 226-2. API asserts

that plaintiffs’ challenge to all six lease sales now at issue in the 2016 WildEarth Guardians lawsuit

are time-barred;2 that plaintiffs’ challenges to two of the three lease sales now at issue in the 2020

WildEarth Guardians lawsuit are time-barred;3 and that plaintiffs’ challenges to 23 of the 28 lease

sales now at issue in the 2021 WildEarth Guardians lawsuit are time-barred.4 API also asserts that

with respect to the 23 time-barred lease sale challenges in the 2021 WildEarth Guardians lawsuit,

two are also barred by res judicata; one is also barred by waiver; and 17 are also barred by laches.5

          The Government has filed motions voluntarily to remand (without vacatur) in all three

lawsuits.6 API submits that the Court should first resolve API’s motions to dismiss, and then




lawsuit”); WildEarth Guardians v. Haaland, No. 1:21-cv-00175 (the “2021 WildEarth Guardians
lawsuit”).
2
 See Intervenor-Defendant American Petroleum Institute’s Motion To Dismiss in WildEarth
Guardians v. Haaland, No. 1:16-cv-01724, Docket No. 201 (Aug. 2, 2021).
3
 See Intervenor-Defendant American Petroleum Institute’s Motion To Dismiss in Part in
WildEarth Guardians v. Haaland, No. 1:20-cv-056, Docket No. 55 (Aug. 2, 2021).
4
 See Intervenor-Defendant American Petroleum Institute’s Motion To Dismiss In Part, Or, In The
Alternative, For Partial Summary Judgment in WildEarth Guardians v. Haaland, No. 1:21-cv-
00175, Docket No. 28 (June 9, 2021).
5
    See id.
6
  See Federal Defendants’ Second Motion For Voluntary Remand Without Vacatur and
Memorandum In Support in the 2016 WildEarth Guardians lawsuit, Docket No. 200; Federal
Defendants’ Second Motion For Voluntary Remand Without Vacatur and Memorandum In
Support in the 2020 WildEarth Guardians lawsuit, Docket No. 54; Federal Defendants’ Motion
For Voluntary Remand Without Vacatur and Memorandum In Support in the 2021 WildEarth
Guardians lawsuit, Docket No. 43.
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entertain remand of only those lease sale challenges the Court determines should not be dismissed.

       Three reasons support that result:

       First, although not mandatory, federal district courts routinely take up and resolve

limitations defenses before addressing any other non-jurisdictional issues in the case.

       Second, Congress’ very purpose in enacting the relatively short, 90-day limitations period

applicable to plaintiffs’ claims was to eliminate uncertainty and allow lessees to proceed promptly

with the massive undertakings associated with oil and gas development. Congress achieved that

goal by foreclosing any lawsuit “contesting a decision of the Secretary involving any oil and gas

lease” unless the lawsuit is “taken within ninety days” of the Secretary’s final decision. An open

ended remand of plaintiffs’ legal challenges for further NEPA analysis by the agency, a process

that would likely take many months at best, is antithetical to Congress’ core purpose in enacting

the MLA statute of limitations. Resolving API’s motion to dismiss first would, by contrast,

advance that goal materially, because dismissal would eliminate the plaintiff lawsuits’ stain on

title to the leases issued through the challenged lease sales.

       Third, a court has broad discretion whether to grant a motion to remand. Under facts with

many similarities to the instant litigation, this Court in two related recent decisions denied

Government motions for voluntary remand and deferred remand until after a core legal issue was

resolved, finding that this would “conserve the courts’ and the parties’ resources,” especially given

that, as here with respect to the statute of limitations issue, the legal issue had been fully briefed.

See Am. Waterways Operators v. Wheeler, 427 F. Supp. 3d 95 (D.D.C. 2019) (“American

Waterways I”); Am. Waterways Operators v. Wheeler, 507 F. Supp. 3d 47, 53, 56 (D.D.C. 2020)

(“American Waterways II”).

       For all these reasons, the Court should defer action on the Government’s pending motions

for voluntary remand until it has resolved API’s pending motions to dismiss.



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                                            ARGUMENT

       A.      Courts Routinely Resolve Limitations Defenses First.

       If an action is found to be time-barred, the case is properly dismissed without reaching the

merits or other non-jurisdictional issues. LoPiccolo v. Am. Univ., 840 F. Supp. 2d 71, 79 n.12

(D.D.C. 2012); Sparkle Hill, Inc. v. Interstate Mat Corp., No. 11–10271, 2014 WL 2215756, at *2

(D. Mass. May 23, 2014) (“I consider the statute of limitations defense before the merits because

I find it dispositive of the case.”). District courts therefore routinely resolve statute of limitations

issues first. That is the appropriate approach here, too. Cf. Carter v. Richland Holdings, Inc., No.

2:16-cv-02967, 2018 WL 4566667, at *3 (D. Nev. Sept. 24, 2018) (“The Court must first resolve

the parties’ arguments regarding the applicable statute of limitations.”); Akins v. Wash. Metro.

Area Transit Auth., 729 F. Supp. 903, 905 (D.D.C. 1990) (“Before addressing the merits, the Court

must consider Mutual’s claim that Akins failed to sue within the three-year District of Columbia

statute of limitations period on contract actions.”); Bunton v. Geithner, No. A–10–CA–542, 2012

WL 976060, at *1 (W.D. Tex. Mar. 19, 2012) (“Before examining the substantive merits of the

Defendant’s motion, the Court will address the Defendant’s argument that Bunton’s claims are

barred by the statute of limitations, as that argument would render moot the remaining

contentions.”); Walker v. TA Operating LLC, No. 4:14-cv-4055, 2016 WL 1452427, at *3 (W.D.

Ark. Apr. 13, 2016) (“Before discussing the merits of Plaintiff’s hostile work environment claim,

the Court will consider whether his claims are time barred pursuant to a six-month contractual

statute of limitations period….”); Ray v. Levi Strauss & Co., No. 3:04-CV-558, 2006 WL 1028892,

at *2 (S.D. Miss. Apr. 18, 2006) (“Before reaching the merits of Plaintiffs’ common law claims,

the Court must first address the statute of limitations issue raised by Levi.”); Bank of Am., N.A. v.

Sunrise Ridge Master Homeowners Ass’n, No. 2:16-cv-00467, 2019 WL 1245780, at *2 (D. Nev.

Mar. 18, 2019) (“The Court will first address Defendants’ statute of limitations arguments before

addressing the parties’ arguments as to the merits.”); Williams v. Linguard, No. 02-C-0472-C,

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2003 WL 23269344, at *2 (W. D. Wisc. May 14, 2003) (“defendants raise an affirmative defense

in their motion that must be decided before the court considers the merits of plaintiff’s claims; that

is, whether plaintiff’s claims are barred by the applicable statute of limitations.”); Bales v. Comm’r

of Internal Revenue, 22 T.C. 355, 358 (T.C. 1954) (“Before turning to the merits of the question

of petitioner’s liability as transferee, we will consider whether the statute of limitations bars the

respondent from proceeding against her.”); PeoplesSouth Bank, v. Farmer & Malone, P.A., No.

1:11cv36, 2012 WL 2568199, at *3 (M.D. Ala. July 2, 2012) (“Before this court can consider the

merits, it must first address the law firm’s contention that this case is barred by the statute of

limitations.”); Lewis v. Xerox Corp., No. 95 C 7013, 1998 WL 160893, at *4 (N. D. Ill. Mar. 31,

1998) (“Before the court reaches Xerox’s substantive arguments, the court must first resolve

Xerox’s assertion that Lewis’s claims are barred by the statute of limitations.”)

       B.         Remanding These Lawsuits Without First Resolving API’s Limitations
                  Defense Would Vitiate the Very Purpose Congress Sought to Achieve in
                  Enacting the MLA Statute of Limitations.

       An additional reason militates strongly in favor of the Court first resolving the pending

motions to dismiss before turning to the issue of remand. As detailed in API’s motions to dismiss,

Congress enacted a compact, 90-day limitations period for challenges to decisions relating to oil

and gas leases on federal lands, for the very purpose of eliminating uncertainty and allowing

lessees to get on promptly with the massive undertakings associated with oil and gas development.

Congress achieved that goal by foreclosing any lawsuit “contesting a decision of the Secretary

involving any oil and gas lease” unless the lawsuit is “taken within ninety days” of the Secretary’s

final decision.

       Remanding the legal challenges for an uncertain agency process lasting months or years

would wreak havoc with that goal. Resolving API’s motion to dismiss first would, by contrast,

advance that goal.



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        The MLA’s very “purpose . . . was to promote the orderly development of the oil and gas

deposits in the publicly owned lands of the United States through private enterprise.” Harvey v.

Udall, 384 F.2d 883, 885 (10th Cir. 1967) (quotation omitted). Congress in the 1960 MLA

amendments sought to create a “statute of limitations providing that any action under the

Administrative Procedure Act to review a decision of the Secretary involving an oil and gas lease

must be initiated within 90 days after the final decision of the Secretary.” S. Rep. No. 86-1549

(1960), as reprinted in 1960 U.S.C.C.A.N. 3313. The purpose was to reverse “a potentially

dangerous slackening in exploration for development of domestic reserves of oil and gas” by

“remov[ing] certain legislative obstacles to exploration for development of the mineral resources

of the public lands and spur greater activity for increasing our domestic reserves.” Id. at 3314–15.

See also id. at 3317 (“Such a provision will remove a potential cloud on acreage subject to

leasing.”).

        In short, the 90-day deadline was designed to provide lessees certainty and comfort. A

remand here, without first resolving the limitations issue, would be antithetical to those purposes.

Lessees will be left completely uncertain as to their rights, or indeed, whether those rights will

ultimately be vindicated or vitiated. The natural—and statutory—incentives to make substantial

investments toward the development of the leases would be severely circumscribed if not

eliminated. Plaintiffs’ challenges would remain a “cloud on acreage subject to leasing.” 1960

U.S.C.C.A.N. at 3317. Remanding the cases would thus “resurrect the very problems that

Congress sought to eliminate,” Cal. Save Our Streams Council, Inc. v. Yeutter, 887 F.2d 908, 912

(9th Cir. 1989), by imposing a 90 day limitations period—erect “obstacles” that would undercut

prompt development of oil and gas reserves. See 1960 U.S.C.C.A.N. at 3314–15.

        C.     This Court Has Broad Authority to Defer the Government’s Remand Motion
               Until After the Limitations Defense is Resolved, as Exemplified by its
               American Waterways Decisions.

        American Waterways I and American Waterways II involved a Clean Water Act provision

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 allowing a state to apply to the U.S. Environmental Protection Agency (“EPA”) to prohibit the

 discharge of marine vessel sewage into some or all of its waters, if the state determined that

 those waters required greater environmental protection than otherwise afforded by EPA’s

 regulations. Approval was contingent on EPA determining that “adequate facilities for the safe

 and sanitary removal and treatment of sewage from all vessels are reasonably available.” See

 American Waterways I, 427 F. Supp. 3d at 96. After granting such an application by the State

 of Washington, EPA was sued by a shipping trade association, challenging EPA’s having made

 that determination without considering compliance costs for vessels. The State and various

 environmental organizations intervened in defense of the EPA approval. See id. at 97.

       EPA then filed a motion to remand (but not vacate) the challenged determination so that

“it can consider costs in the underlying analysis.” Id. As here, the plaintiff supported the remand

request (while also seeking vacatur), while the intervenors opposed.

       This Court denied remand. While recognizing that EPA satisfied the initial requirement

for voluntary remand, that “the agency intends to take further action with respect to the original

agency decision on review,” id. (quoting Limnia, Inc. v. U.S. Dep’t of Energy, 857 F.3d 379, 386

(D.C. Cir. 2017)), this Court recognized that even with that threshold requirement satisfied, a court

has “broad discretion to grant or deny an agency’s motion to remand.” Id. (quoting Util. Solid

Waste Activities Grp. v. EPA, 901 F.3d 414, 436 (D.C. Cir. 2018)). See also Keltner v. United

States, 148 Fed. Cl. 552, 563 (Fed. Cl. 2020) (“The case law . . . makes clear that where an agency

requests a remand without confessing error, the agency must express some intent to reconsider the

original agency decision that is the subject of the legal challenge, after which the court has

discretion to grant or deny the motion.”) (denying remand) (emphasis added).

       Furthermore, although remand may be granted based on a new legal decision or the passage

of new legislation that leads the Government to acknowledge error in its prior decision, American

Waterways I, 427 F. Supp. 3d at 97 (citing Util. Solid Waste Activities, 901 F.3d at 436), the

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Government here pointedly does not confess error, see, e.g., Government’s Motion For Remand

in 2021 WildEarth Guardians Lawsuit, at 4. Indeed, while it points to this Court’s Bernhardt7 and

Zinke8 decisions finding certain deficiencies in BLM’s examination of the GHG emissions-related

climate change impacts of oil and gas leasing in certain leasing decisions, the Government merely

contends, e.g., that “[t]he analyses supporting the challenged leasing decisions are similar in some

respects to those that the Court considered in Bernhardt and Zinke.” See id. at 5 (emphasis added).

         That position is considerably more equivocal than that taken by the Government in

American Waterways I, where the Government asserted in its remand motion that “[h]aving

reviewed the complaint, the Act, judicial precedent, and the record, [EPA] now believes that it

should have considered compliance costs in making the challenged determination.” 427 F. Supp.

3d at 98, quoting EPA’s Motion at 4. Yet this Court found that even that direct statement did not

rise to a confession of error, id.,9 and “decline[d] to exercise its discretion to grant EPA’s remand

request,” id. at 99.

         This Court concluded that remand “would unduly prejudice the Environmental

Intervenors’ interests” given that they had engaged in extensive study of the no-discharge zone,

engaged in public outreach, and instituted a no-discharge zone in reliance on EPA’s determination.

Id. “Granting EPA’s remand request would leave all this in limbo,” because “the court cannot blind

itself to the possibility that EPA could reach a different decision on remand.” Id. “Washington

initiated the Puget Sound no-discharge zone only after receiving EPA’s decision authorizing the

State to” do so, “a decision the State rightfully understood to be final.” Id.




7
    WildEarth Guardians v. Bernhardt, 502 F. Supp. 3d 237 (D.D.C. 2020).
8
    WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41 (D.D.C. 2019).
9
  To be clear, API is not suggesting that Federal Defendants should have confessed error here,
either. To the contrary.

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         In the face of this decision, EPA proceeded formally to “admit[] error,” issuing a

memorandum declaring that it had previously taken a “legally erroneous position,” and stating that

a Supreme Court decision “compels” EPA to consider the costs of compliance. See American

Waterways II, 507 F. Supp. 3d at 53, 56. EPA then sought reconsideration of the denial of its

motion to remand. Id. at 57. This Court denied that motion, because “[w]hile EPA has now

admitted error, the court is not convinced that justice requires granting EPA’s motion for

reconsideration, which would have the effect of preempting resolution of the pending motions for

summary judgment.” Id. This Court noted that “[o]ne of the driving purposes of remanding a

matter to an agency is to conserve “the courts’ and the parties’ resources” (citations omitted), and

that this “objective would not be served were the court to remand this case in its present posture,”

given that briefing had been completed. Id. at 57–58.

         The parallels to the current lawsuit are striking. Here, briefing on the statute of limitations

issue has been completed in the 2021 WEG lawsuit,10 and the statute of limitations arguments

advanced in the 2016 and 2020 WEG lawsuits are substantively identical.11 The statute of

limitations issue is thus ripe for resolution, just as was the fully briefed core legal issue in American

Waterways. As was true in American Waterways, given that “the objective [of remand] is to

conserve the courts’ and the parties’ resources,” American Waterways II, 507 F. Supp. 3d at 57,

this “objective would not be served were the court to remand this case in its present posture.” Id.

at 58.

         Moreover, remand “would unduly prejudice [the lessees’] interests,” American Waterways

I, 427 F. Supp. 3d at 99, given that they acquired their leases in good faith at a cost of tens of

millions of dollars; expended substantial resources to obtain BLM approval of dozens of


10
     See 2021 WildEarth Guardians Lawsuit, Docket Nos. 28, 41, and 45.
11
 See 2016 WildEarth Guardians Lawsuit, Docket No. 201; 2020 WildEarth Guardians Lawsuit,
Docket No. 55.

                                                   9
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Applications for Permit to Drill (“APDs”) for drilling operations on the affected leases; and spent

tens of millions of dollars drilling several wells. See Intervenor-Defendant American Petroleum

Institute’s Motion To Dismiss In Part, Or, In The Alternative, For Partial Summary Judgment in

WildEarth Guardians v. Haaland, No. 1:21-cv-00175, Docket No. 28 at 38–40 (June 9, 2021); id.,

Intervenor-Defendant American Petroleum Institute’s Reply Memorandum in Support of Motion

to Dismiss in Part, or, In the Alternative, For Partial Summary Judgment, Docket No. 45 at 20–21

(Aug. 6, 2021)

       Similarly, and again in parallel to the intervenors in American Waterways, the lessees

obtained their leasehold interests “only after receiving [the Government’s] decision authorizing”

the lessees to do so, “a decision the [lessees] rightfully understood to be final.” American

Waterways I, 427 F. Supp. 3d at 99.

       This Court’s admonition in American Waterways I rings true here as well: “Granting [the

Government’s] remand request would leave all this in limbo,” and “the court cannot blind itself to

the possibility that [the Government] could reach a different decision on remand.” Id.

                                         CONCLUSION

       For all these reasons, the Court should defer ruling on the Government’s motions to remand

until after it has ruled on API’s pending motions to dismiss.

                                             Respectfully submitted,
August 13, 2021
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                            Attorneys for American Petroleum Institute




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                               CERTIFICATE OF SERVICE

I hereby certify that on this 13th day of August, 2021, I caused a true and correct copy of the
foregoing to be filed with the Court electronically and served by the Court’s CM/ECF System
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